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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                               )
ANNETTE COTTRELL,                              )
                                               )
                       Plaintiff,              )
                                               ) Case No.: 1:16-cv-00543-MJG
    v.                                         )
SANTANDER CONSUMER, U.S.A.,                    )
                                               )
                       Defendant.              )
                                               )

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and with each party to bear its own fees and costs.


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Date: March 15, 2017                           Date: March 15, 2017


                                     BY THE COURT:



                                     _________________________
                                                             J.
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                                 Certificate of Service

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing on this 15th day of March, 2017:

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